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                    IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII
ROMAN ANDERSON, individually and              CIVIL NO.
on behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT
                 Plaintiff,
           vs.
SUBARU OF AMERICA, INC., a New
Jersey corporation; SUBARU CORP., a
Japanese corporation; DENSO
INTERNATIONAL AMERICA, INC., a
Delaware corporation; and DENSO               JURY TRIAL DEMANDED
CORP., a Japanese corporation,
                 Defendants.

                               CLASS ACTION COMPLAINT




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           Plaintiff Roman Anderson (“Plaintiff”), individually and on behalf of all

others similarly situated, upon personal knowledge of the facts pertaining to

himself and on information and belief as to all other matters, by and through

undersigned counsel, hereby brings this class action complaint against Defendants

Subaru Corporation, Subaru of America, Inc., Denso Corporation, and Denso

International America, Inc. (collectively, “Defendants”) and alleges as follows:

                               NATURE OF THE CASE

           1.    Denso is a $47.6 billion company that claims to be a leading supplier

of advanced automotive technology, systems and components for automakers. It is

one of the largest suppliers of original equipment (“OE”) fuel pumps to vehicle

manufacturers, including to Subaru. According to Denso, its fuel “pumps are

chosen as standard equipment by the world’s most demanding OEMs, especially

for their premium vehicles.”

           2.    On April 24, 2020, Denso issued a recall for defective low pressure

fuel pumps it manufactured between September 1, 2017 and October 6, 2018 (the

“Denso Recall”). The number of potentially affected vehicles across manufacturers

is 2,020,000.

           3.    Denso explains that “[a]n impeller in some low pressure fuel pumps

may become deformed under certain conditions which could render the fuel pump

inoperable.” Specifically, if “an impeller is manufactured with a lower density, and

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contains a lower surface strength or is exposed to production solvent drying for a

longer period of time, higher levels of surface cracking may occur which, when

excessive fuel absorption occurs, may result in impeller deformation” (the “Fuel

Pump Defect”).1

           4.   The Fuel Pump Defect is a safety hazard. Denso warns that “an

inoperative fuel pump may result in the illumination of the check engine light

and/or master warning indicators, rough engine running, engine no start and/or

vehicle stall while driving at low speed and, in rare instances, a vehicle stall could

occur while driving at higher speeds, increasing the risk of a crash.”2

           5.   Denso says it notified affected vehicle manufacturers and that it is up

to each manufacturer to conduct recalls, as necessary, to replace the fuel pumps.

The recall schedule and any remedy program must be determined by each vehicle

manufacturer.

           6.   On April 16, 2020, a few days before Denso issued its recall, Subaru

recalled 188,207 vehicles because of the Fuel Pump Defect (the “Subaru Recall”).

Recalled vehicles include the 2019 Impreza, Ascent, Legacy and Outback.

           7.   However, Subaru did not recall all vehicles manufactured with fuel

pumps made in Denso’s specified time frame. Instead, Subaru limited its recall to


1
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
2
           Id.
                                            2
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only those vehicles equipped with a low pressure fuel pump manufactured by

Denso during the four-month period, April 2018 to July 2018, despite that Denso

recalled fuel pumps manufactured over a thirteen-month period.

           8.    In addition, while Denso broadly identified the defect as impellers

manufactured with a lower density that have either a lower surface strength or were

overexposed to solvent drying, both of which could result in impeller deformation

and fuel pump failure, the Subaru Recall excludes lower density impellers made

with a lower surface strength. The Subaru Recall improperly applies only to lower

density fuel pumps exposed to solvent drying for longer periods of time. Subaru

gives no reason why it limited its recall in this manner despite Denso’s broader

recall.

           9.    Like Denso, Subaru recognizes serious safety issues accompany the

Fuel Pump Defect. Subaru warns that an inoperative low pressure fuel pump may

cause the check engine warning light or malfunction indicator light to illuminate,

the engine to run rough, and worst case, the engine may stall without the ability to

restart the vehicle, increasing the risk of a crash. Nevertheless, Subaru delayed

warning owners and lessees of recalled vehicles about the Fuel Pump Defect.

           10.   Subaru also failed to include all vehicles affected by the Fuel Pump

Defect in its recall. Likewise, even though Denso’s recall is broader than Subaru, it

too improperly limited its recall by failing to include all defective low pressure fuel

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pumps. Reports of faulty fuel pumps and problems associated with inoperative fuel

pumps, such as vehicles stalling while driving, have been made by owners and

lessees to the National Highway Traffic Safety Administration (“NHTSA”) dating

back to 2015, or earlier. Additionally, at least one other manufacturer that uses

Denso’s fuel pumps has recalled vehicles made as early as 2013 for the same Fuel

Pump Defect involving Denso low pressure fuel pumps that were made with a

lower density.

           11.   Accordingly, Denso and Subaru’s recalls are improperly narrow. All

makes, models and years of Subaru vehicles that are equipped with the same

dangerous and defective low pressure fuel pump supplied by Denso should be

recalled. These models and model years include the 2015-2019 Subaru Impreza,

Ascent, Legacy, Outback, Forester, Crosstrek and WRX. (collectively, the “Subject

Vehicles”). Plaintiff brings this class action on behalf of owners and lessees of

Subject Vehicles that are equipped with defective Denso low-pressure fuel pumps.

                             JURISDICTION AND VENUE

           12.   The Court has jurisdiction over Plaintiff’s claims pursuant to the Class

Action Fairness Act, 28 U.S.C. § 1332(d) because: (a) this action is brought as a

proposed class action under Fed. R. Civ. P. 23; (b) the proposed Class includes

more than 100 members; (c) many of the proposed Class members are citizens of




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states that are diverse from Defendants’ citizenship; and (d) the matter in

controversy exceeds $5,000,000, exclusive of interest and costs.

           13.   This Court has personal jurisdiction over the Subaru entities because

Subaru conducts business in Hawaii including by advertising, distributing and

selling the Subject Vehicles. Subaru routinely conducts business in this District

and some of the actions giving rise to this action took place in this District and/or

caused injury to property in this state; and products, materials, or things processed,

serviced, or manufactured by Subaru anywhere were used or consumed in this state

in the ordinary course of commerce, trade, or use. Subaru has, at all relevant times,

conducted and continues to conduct business in Hawaii, and every other state in

the country.

           14.   This Court has personal jurisdiction over the Denso entities because

Denso routinely conducts business in this District and some of the actions giving

rise to this action took place in this District and/or caused injury to property in this

state; and products, materials, or things processed, serviced, or manufactured by

Denso anywhere were used or consumed in this state in the ordinary course of

commerce, trade, or use. Vehicles all over the world, including this District, are

equipped with Denso parts, including the Fuel Pump. Denso has, at all relevant

times, conducted and continues to conduct business in Hawaii, and every other

state in the country.

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           15.   Venue is proper in this judicial District under 28 U.S.C. § 1391

because a substantial part of the events or omissions giving rise to the conduct

alleged herein occurred in, were directed to, and/or emanated from this District.

Venue is also proper because Defendants transact business in this District.

                                        PARTIES

Plaintiff

           16.   Plaintiff Roman Anderson is a citizen of Hawaii and resides in

Laupāhoehoe, Hawaii. In or about Spring 2019, Plaintiff purchased a Subaru-

certified pre-owned 2017 Subaru Outback with approximately 17,000 miles from

Big Island Motors in Hilo, Hawaii. He purchased the vehicle primarily for

personal, family, or household purposes. Plaintiff’s 2017 Outback was distributed,

sold, leased, advertised, marketed and warranted by Subaru and bears the Vehicle

Identification No. 4S4BSACC5H3335520. Plaintiff purchased an extended

warranty for the vehicle.

           17.   Safety was a primary factor in Plaintiff’s decision to buy his car. His

decision to purchase a Subaru was based in large part on the years-long advertising

campaign to which he had been exposed through various media where he heard

and        read numerous     advertisements promoting       Subaru’s leadership     and

commitment to designing and building cars that are safe and reliable. In addition,

prior to purchasing his Outback, Plaintiff reviewed Subaru’s sales and promotional

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materials, including Subaru’s brochure and website for the Outback. All of

Subaru’s materials reinforced Subaru’s branding the vehicle as being safe and

reliable. He also researched his vehicle online by looking at Subaru forums where

owners discussed their experience with the Outback. Plaintiff test drove the

Outback (and Crosstrek) at the Subaru-authorized dealership, spoke with the dealer

sales representative, viewed the sticker posted on the side window of the vehicle,

and other materials. None of these indicated his vehicle may have a Fuel Pump

Defect. Plaintiff had a reasonable expectation that the vehicle he purchased was

safe and reliable.

           18.   Plaintiff’s vehicle exhibits the Fuel Pump Defect. In and around May

2020, Plaintiff’s vehicle experienced engine no start twice in one week. He was

able to restart the vehicle but only after multiple attempts. A year earlier, in

approximately November 2019, his vehicle stalled as he waited at a stop sign.

           19.   Plaintiff’s vehicle was not included in the recall. As such, he will not

benefit from any corrective remedy under the recall. Because repairs of a fuel

pump often require replacement of the entire fuel pump assembly, which can cost

as much as $1,000, Plaintiff has not had the vehicle repaired.

           20.   At all relevant times, Plaintiff has driven the vehicle in a foreseeable

manner and the manner in which it was intended to be used. Plaintiff would not




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have purchased his 2017 Outback if Subaru had disclosed the Fuel Pump Defect or

would have only agreed to purchase the vehicle at a substantially reduced price.

Defendants

           21.   Defendant Subaru of America, Inc. is a New Jersey Corporation with

its principal place of business at One, Subaru Drive, Camden, New Jersey 08103.

Subaru of America, a wholly-owned subsidiary of Subaru Corporation, is

responsible for the design, manufacture, distribution, sale, lease, and marketing of

the Subject Vehicles in Hawaii and throughout the United States. It has a

nationwide dealership network and operates offices and facilities throughout the

United States.

           22.   Defendant Subaru Corporation is a Japanese corporation with its

principal place of business in Shibuya-ku, Tokyo, Japan, and is the parent company

of Subaru of America. Through its various entities (including Subaru of America),

Subaru Corporation designs, manufactures, markets, distributes and sells Subaru

automobiles in the United States, including Hawaii. Throughout the Complaint

Subaru Corporation and Subaru of America, Inc. are collectively referred to as

“Subaru.”

           23.   Denso International America, Inc. (“DIAM”) is a Delaware

corporation with its principal place of business at 24777 Denso Drive, Southfield,

Michigan 48033. DIAM employs over 17,000 employees across 13 states and

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25 sites. In fiscal year ending March 31, 2019, DIAM generated $10.9 billion in

consolidated sales. DIAM is 100% owned by its Japanese parent company, Denso

Corporation. It is Denso Corporation’s North American regional headquarters and

parent company for its North American operations, including design and

production engineering, technical support, sales and finance.

           24.   Denso Corporation is a $48.3 billion global supplier of advanced

technology and components for nearly every vehicle make and model on the road

today. Denso Corporation invests in its 221 facilities in 35 countries to produce

thermal, powertrain, mobility, electrification, and electronic systems. Denso has

over 170,000 employees worldwide and is globally headquartered in Kariya, Japan.

Denso is 100% owner of at least 10 subsidiaries in the United States, including

DIAM. Throughout the Complaint DIAM and Denso Corporation are collectively

referred to as “Denso.”

                              FACTUAL BACKGROUND

I.         DENSO LOW PRESSURE FUEL PUMPS

           25.   Denso is a leading supplier of OE fuel pumps and fuel pump modules

to major automakers, including Subaru. According to its website, Denso recorded

nearly $50 billion in consolidated net sales in 2019.

           26.   Fuel pumps transfer gas from the fuel tank and pressurize and deliver

it to the engine. Denso explains the role of the electric fuel pump as “deliver[ing]

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fuel from the tank to the engine, under high pressure, depending on the vehicle

application’s specific requirements. The fuel is transported to fuel injectors, which

spray the fuel into the engine cylinders.”3

           27.   Fuel pumps are designed to last at least 100,000 miles.4 Denso claims

its fuel pumps “offer more than triple the lifetime[.]”5

           28.   The fuel delivery system relies on two pumps to supply fuel to the

engine: a low pressure fuel pump and high pressure fuel pump. Denso refers to

these as the in-line (high pressure) and in-tank (low pressure) pumps.

           29.   The in-take fuel pump is mounted inside the fuel tank and pumps fuel

from the fuel tank to the engine by supplying fuel pressure to the fuel injection

system. An impeller, located under the pump motor, is a key component of the low

pressure fuel pump. The impeller is a plastic disk that rotates and draws in fuel

and pushes it up through the pump.6 Denso’s in-tank fuel pump looks like this:7




3
      https://www.denso-am.eu/products/automotive-aftermarket/ignition/fuel-
pumps/
4
      https://www.yourmechanic.com/article/how-long-does-a-fuel-pump-usually-
last
5
      https://densoautoparts.com/fuel-pumps.aspx
6
      https://www.denso-am.co.uk/products/automotive-aftermarket/ems-lambda-
sensor/fuel-pumps/how-they-work/
7
      https://aftermarket.denso.com.sg/product_info/?cat_id=194
                                           10
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           30.   Denso describes the operation of its in-take fuel pump as “[w]hen the

impeller of an in-tank [f]uel [p]ump rotates, the blade moves around the impeller,

creating a swirling motion inside the pump to deliver fuel. The fuel then passes

around the motor, forcing the check valve upwards to supply fuel to the fuel pipe.”8

           31.   The inside of a Denso impeller and Denso’s depiction of the fuel

pump operation is displayed below:9




8
           https://www.denso-am.eu/media/966284/dems180001mm-lr.pdf
9
           Id.; https://densoautoparts.com/fuel-pumps.aspx
                                            11
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           32.   Fuel pump failure can have serious consequences. Denso’s materials

identify the symptoms of a faulty in-tank fuel pump as:

                 • Difficult Start Up: The engine is unable to operate due to
                   insufficient fuel supplied to the engine from the fuel tank.

                 • Engine Stalling: Engine starts to stall after start-up because
                   the fuel pump is unable to deliver enough fuel to the engine.
                   This might happen even when the gas pedal is pressed.

                 • Poor Drivability: Insufficient flow rate of fuel leads to
                   weak acceleration of the car. The fuel pressure is not enough
                   to supply required fuel to the system.

                 • “Check Engine” Light is on: This symptom shows there is
                   something wrong with the engine. One of the factors could
                   be due to malfunction of fuel pump.10
II.        DENSO’S RECALL OF LOW PRESSURE FUEL PUMPS

           33.   On April 24, 2020, Denso International America, Inc. issued a safety

recall for low pressure fuel pumps it manufactured between September 1, 2017 and

October 6, 2018.11 It estimates the potential number of units affected at 2,020,000.

           34.   According to Denso “[a]n impeller within the low pressure fuel pump

may crack and deform, potentially causing the fuel pump to fail.” If “an impeller is

manufactured with a lower density, and contains a lower surface strength or is

exposed to production solvent drying for a longer period of time, higher levels of




10
           https://aftermarket.denso.com.sg/product_info/?cat_id=194
11
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
                                            12
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surface cracking may occur which, when excessive fuel absorption occurs, may

result in impeller deformation.”

           35.   Denso’s recall notice explains that if an impeller deforms to a point

that creates sufficient interference with the fuel pump body, the fuel pump

becomes inoperative. An “inoperative fuel pump may result in the illumination of

the check engine light and/or master warning indicators, rough engine running,

engine no start and/or vehicle stall while driving at low speed and, in rare

instances, a vehicle stall could occur while driving at higher speeds, increasing the

risk of a crash.”

           36.   Denso   notified   affected    vehicle   and   aftermarket   equipment

manufacturers whose responsibility it is to conduct recalls as necessary to replace

the fuel pumps. Denso claims that the impeller of fuel pumps used for a remedy

component have a higher density.

           37.   Denso supplies low pressure fuel pumps to Subaru, which it notified

of the defect. Denso’s recall notice identified Subaru OE low pressure fuel pumps

with the following part numbers as being subject to the Denso Recall: 291100112;

291100113; 291100119; 291100166; 291100170; 291100190. These are Denso’s

part numbers – Subaru assigns its own numbers to the same parts.




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III.       SUBARU’S LIMITED RECALL OF DENSO LOW PRESSURE FUEL
           PUMPS

           38.   On April 16, 2020, eight days before Denso initiated its recall of low

pressure fuel pumps, Subaru of America issued its own recall. Subaru’s recall

notice identifies the component manufacturer as Denso International America, Inc.

According to Subaru the number of potentially affected vehicles is 188,207.

           39.   Subaru describes the defect as “[t]he affected vehicles may be

equipped with a low pressure fuel pump produced during a specific timeframe

which includes an impeller that was manufactured with a lower density. If the

surface of the lower density impeller is exposed to solvent drying for longer

periods of time, it may develop fine cracks. Those cracks may lead to excessive

fuel absorption, resulting in impeller deformation. Over time, the impeller may

become deformed enough to interfere with the body of the fuel pump, potentially

causing the low pressure fuel pump to become inoperative.”

           40.   Signs of an inoperative fuel pump are “the check engine warning light

or malfunction indicator light may illuminate, and/or the engine may run rough. In

the worst case, an inoperative fuel pump may result in the engine stalling without

the ability to restart the vehicle, increasing the risk of a crash.” Subaru did not

mention that the problem could also cause stalling at low speeds, which Denso

asserted as one of the safety concerns in its own recall.



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           41.   The Subaru Recall include is limited to the following makes and

models produced during the specified dates:

                 • 2019 Impreza (produced June 18, 2018 to February 25, 2019)

                 • 2019 Ascent (produced June 26, 2018 to January 18, 2019)

                 • 2019 Legacy (produced June 29, 2018 to February 19, 2019)

                 • 2019 Outback (produced June 29, 2018 to February 19, 2019)

           42.   According to Subaru, the recall population includes 28,050 model

year 2019 Impreza station wagons and 12,747 Impreza 4-Door vehicles

manufactured between June 18, 2018 and February 25, 2019; 86,278 Outback

vehicles and 20,182 Legacy vehicles manufactured between June 29, 2018 and

February 19, 2019; and 40,950 Ascent vehicles produced June 26, 2018 to January

18, 2019.

           43.   Not all vehicles with fuel pumps manufactured in Denso’s specified

production range were recalled. Also, Subaru says it must confirm coverage for

each vehicle.

           44.   For potentially affected vehicles, Subaru will replace the low pressure

fuel pump with an improved part at no cost. Purportedly, remedy components have

a fuel pump impeller with a higher density.




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IV.        SUBARU’S RECALL IS INADEQUATE

           45.   The Fuel Pump Defect poses a serious safety risk. Denso and Subaru

both recognize that inoperative fuel pumps may cause vehicles to stall while

driving, putting drivers, occupants and other vehicles on the road at risk of being

involved in a serious crash.

           46.   Despite this risk, Subaru’s recall fails to include all potentially

affected vehicles, exposing owners and lessees to serious injury or death from

faulty fuel pumps.

           47.   Denso’s recall states that unsafe surface cracking may result if an

impeller is (1) manufactured with a lower density and (2) contains a lower surface

strength or is exposed to production solvent drying for a longer period of time.

Denso claims defective pumps were manufactured during the thirteen-month

period, September 1, 2017 to October 6, 2018.

           48.   Subaru’s recall does not account for fuel pumps made with a “lower

surface strength,” which Denso identifies as an element of the defect that can lead

to pump failure. Instead, Subaru recalled only pumps made with an impeller that

was produced with a lower density and also exposed to solvent drying for longer

periods of time. For reasons not stated, Subaru excluded pumps manufactured with

a lower surface strength.




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           49.   By comparison, on January 13, 2020, Toyota issued a recall for

defective Denso low pressure fuel pumps. Toyota’s Amended Defect Information

Report,12 dated March 4, 2020, outlines its investigation into the Fuel Pump Defect

and reveals that impeller swelling and deformation were observed not only in

impellers made with a lower density and which were exposed to production solvent

drying for longer periods of time, but also in low density impellers that had a lower

surface strength. Toyota explained that it:

           [O]bserved that some field cases involved impellers that had low
           density with similar cracks to other field cases, but experienced
           shorter lead times to the vehicle assembly plant (i.e., were not exposed
           to drying solvent for longer periods of time during production in the
           same manner as the pumps investigated above). Thus, Toyota
           investigated a second factor, which was the surface strength of
           different pump impeller types. Analyses were performed on impeller
           samples from the pump types that may have been produced with
           lower density material. These analyses identified that the surface
           strength was low on one particular type. Impellers of this type,
           produced with the lower density material, can experience higher levels
           of surface cracking even when exposed to shorter durations of solvent
           drying.

           Based on the above activities, Toyota concluded that pumps produced
           with impellers of lower density that also contain either (1) a pump
           impeller of a type with lower surface strength or (2) a pump impeller
           that was exposed to production solvent drying for longer periods of
           time could experience the impeller cracking at a level that could lead
           to excessive fuel absorption and
           increased impeller deformation. If impeller deformation results in
           sufficient interference with the fuel pump body, the fuel pump may
           become inoperative.

12
           https://static.nhtsa.gov/odi/rcl/2020/RMISC-20V012-9970.pdf
                                             17
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           50.   As a result of the above investigation, Toyota expanded its recall.

Initially, Toyota recalled multiple model year 2018-2019 vehicles with fuel pumps

manufactured by Denso between August 1, 2018 and January 31, 2019.13 Two

months later, Toyota expanded the recall to include model year 2013-2017 vehicles

with fuel pumps made as early as September 2, 2013, asserting that the pumps

“were produced with impellers of lower density” and contained either lower

surface strength or exposure to solvent drying for too long.14

           51.   Toyota’s analysis is noteworthy considering that it owns 25 percent of

Denso Corporation, the parent company of Denso International America, Inc., and

has numerous and ongoing joint ventures with Denso for research and development

of new vehicle technology and components. In 2019, Toyota also increased its

ownership of Subaru Corporation to 20 percent, making it a Subaru affiliate. Thus,

Subaru is aware of Toyota’s extended recall and the implications it has for

Subaru’s own Denso fuel pumps.

           52.   Further, while Denso recalled fuel pumps manufactured between

September 1, 2017 and October 6, 2018, Subaru only recalled vehicles equipped

with fuel pumps manufactured during the four-month period, April 2018 and July




13
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V012-4479.PDF
14
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V012-7857.PDF
                                            18
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2018. This is so despite Subaru acknowledging Denso did not begin using fuel

pumps with a higher density impeller until July 2019.

           53.   Subaru’s recall, which is limited to the 2019 Impreza, Ascent, Legacy

and Outback with specified part numbers, excludes other makes, models and years

that were equipped with the same defective low pressure fuel pumps.

           54.   Specifically, Subaru’s Product Campaign Bulletin (dated April 29,

2020) sent to dealers lists affected part numbers as follows:15




           55.   But Subaru’s Genuine Subaru Parts website shows that fuel pump part

numbers 42021AL02C and 42021AL03C are also used in, for example, model year

2015-2019 Subaru Outback and Legacy vehicles.16 Subaru offered no explanation

for why fuel pumps with the same part numbers, including the fuel pump in the

subject 2017 Outback, were excluded from the recall. Further, Plaintiff reasonably


15
           https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-8906.pdf
16
           https://parts.subaru.com
                                            19
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believes that other makes, models and years of Subaru vehicles have the same Fuel

Pump Defect based on NHTSA reports going back to at least 2015 that show

owners and lessees complaining of vehicles stalling while driving.

           56.   Since at least 2015, Subaru owners and lessees have reported

problems with engine stall while driving, the most dangerous indicator of an

inoperative fuel pump. Similar complaints made to NHTSA are indicative that

other makes, models and years were manufactured with the same defective Denso

fuel pump.

           57.   Below are example complaints filed with NHTSA that demonstrate

the Fuel Pump Defect is more widespread than the 2019 Impreza, Ascent, Legacy,

Outback:17

                  Subaru Crosstrek Complaints, Model Years 2015-2019

            NHTSA ID Number: 11051438
            Incident Date: November 8, 2017
            Model: 2015 Crosstrek

            ENGINE STALLED WITHOUT WARNING WHILE DRIVING ON
            HIGHWAY

            NHTSA ID Number: 11232199
            Incident Date: July 11, 2019
            Model: 2015 XV CROSSTREK

            WAS DRIVING . . ., WHEN SUDDENLY THE VEHICLE LOST
            ACCELERATION, THE RPMS WENT LOW, AND THE VEHICLE
17
     All complaints to NHTSA have been reproduced as originally written and
may contain spelling or grammatical errors.
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           DIED. NO WARNING LIGHTS OR INDICATIONS OF A
           PROBLEM BEFORE THE EVENT. . .TOW INTO THE DEALER.
           FUEL PUMP FAILURE WAS DETERMINED TO BE THE
           CAUSE.

           NHTSA ID Number: 11242454
           Incident Date: August 1, 2019
           Model: 2015 Crosstrek

           THE CONTACT OWNS A 2015 SUBARU CROSSTREK. WHILE
           DRIVING 80-85 MPH, THE VEHICLE STALLED ON SEVERAL
           OCCASIONS WITHOUT WARNING

           NHTSA ID Number: 11119786
           Incident Date: August 9, 2018
           Model: 2015 Crosstrek

           CAR STALLED AND DIED WHILE DRIVING ON FREEWAY
           TRAVELING 75MPH. FELT LIKE THE TRANSMISSION
           SHIFTED INTO A LOW GEAR AND THE RPM'S REVVED. CAR
           IMMEDIATELY LOST POWER . . . EXACT SAME SYMPTOMS
           HAPPENED TO THE SAME VEHICLE 6 MONTHS AGO. CAR
           DIED ON FREEWAY TRAVELING 75MPH . . . THE ENGINE
           DIED 3 OTHER TIMES WHILE DRIVING AT LEAST 45MPH[.]

           NHTSA ID Number: 11292354
           Incident Date: December 3, 2019
           Model: 2018 Crosstrek

           THE CAR ENGINE HAS STALLED 4 TIMES SINCE JULY
           WHEN WIFE WAS ACCELERATING ONTO A MAIN STREET
           OR THROUGH AN INTERSECTION, TURNING FROM A STOP.

           NHTSA ID Number: 11170789
           Incident Date: June 3, 2018
           Model: 2018 Crosstrek

           THE CONTACT OWNS A 2018 SUBARU CROSSTREK. WHILE
           DRIVING AT LOW SPEEDS, THE VEHICLE STALLED AND

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           WAS REAR ENDED

           NHTSA ID Number: 11234224
           Incident Date: July 14, 2019
           Model: 2019 Crosstrek

           CAR HESITATES AND STALLS OUT AT SLOW SPEEDS AND
           HAS   STALLED   WHILE   PULLING   OUT   INTO  A
           INTERSECTION.

           NHTSA ID Number: 11289092
           Incident Date: December 3, 2019
           Model: 2019 Crosstrek

           I WAS DRIVING IN TRAFFIC TO COMPLETE STOP, AS I WAS
           ACCELERATING THE VEHICLE STALLED


                 Subaru Forester Complaints, Model Years 2015-2019

           NHTSA ID Number: 11288567
           Incident Date: December 9, 2019
           Model: 2015 Forester

           CAR WILL STALL AT LIGHT AND STALL ON FREEWAY
           CAUSING ME TOO LOOSE CONTROL IT WILL ALSO JUST
           TURN OFF AT HIGH SPEED AND SOMETIMES WHEN STOPED

           NHTSA ID Number: 11003831
           Incident Date: June 17, 2017
           Model: 2015 Forester

           ENGINE STALL AT HIGHWAY SPEEDS. THIS                       HAS
           OCCURRED TO ME ON TWO SEPARATE OCCASIONS.

           NHTSA ID Number: 11265857
           Incident Date: September 28, 2019
           Model: 2015 Forester



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           THE CONTACT OWNS A 2015 SUBARU FORESTER. WHILE
           DRIVING APPROXIMATELY 70-75 MPH, THE FUEL GAUGE
           INDICATOR DISPLAYED APPROXIMATELY 50 MILES TO
           EMPTY AND THE VEHICLE STALLED WITHOUT WARNING.
           THE CONTACT WAS ABLE TO RESTART THE VEHICLE

           NHTSA ID Number: 11280656
           Incident Date: November 17, 2019
           Model: 2015 Forester

           CAR STALLED WHILE DRIVING, WITH NO LIGHTS LIT UP
           ON THE DASHBOARD. HAPPENED TWICE, ONCE AT 5 MPH
           AND AGAIN AT 25 MPH. THE TWO TIMES IT HAPPENED
           WERE ABOUT THREE MINUTES APART THIS MORNING

           NHTSA ID Number: 11318234
           Incident Date March 13, 2020
           Model: 2015 Forester

           CONTACT CALLED ON BEHALF OF HER FATHER WHO
           OWNS A 2015 SUBARU FORESTER. THE CONTACT STATED
           THAT WHILE DRIVING AT A SLOW SPEED, THE VEHICLE
           STALLED WITH THE CHECK ENGINE WARNING LIGHT
           ILLUMINATED. THE CONTACT WAS UNABLE TO RESTART
           THE VEHICLE. . . THE CONTACT WAS INFORMED THAT THE
           VEHICLE WAS NOT SUBJECTED TO A RECALL.

           NHTSA ID Number: 11154770
           Incident Date: November 22, 2018
           Model: 2015 Forester

           MY 2015 FORESTER STALLED WHILE DRIVING IN THE
           MIDDLE LANE ON THE NJ PARKWAY (GOING ABOUT 65-
           70MPH.)

           NHTSA ID Number: 11057652
           Incident Date: December 22, 2017
           Model: 2015 Forester



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           ON TWO OCCASIONS: TRAVELING AT APPROX 65- 70MPH
           THE ENGINE SUDDENLY STALLS AND WE HAVE BEEN
           FORCED TO STOP ON THE SHOULDER.

           NHTSA ID Number: 10919048
           Incident Date: September 17, 2016
           Model: 2015 Forester

           ON TWO DIFFERENT OCCASIONS, MY CAR STALLED
           WHILE DRIVING ON THE HIGHWAY. THE ENGINE STOPPED
           RUNNING AND I HAD TO COAST TO THE SIDE OF THE
           ROAD.

           NHTSA ID Number: 10898057
           Incident Date: August 20, 2016
           Model: 2015 Forester

           WHILE DRIVING 75-80 MPH ON THE INTERSTATE, I LOST
           THE ABILITY TO ACCELERATE. LUCKILY I WAS ABLE TO
           CHANGE LANES (I WAS IN THE MIDDLE LANE WHEN I LOST
           POWER) AND PULL OVER. ALL THE LIGHTS WERE ON
           (CHECK ENGINE, AT OIL TEMP, BATTERY,ECT) AND WHAT I
           WAS ABLE TO STOP THE CAR, IT STALLED

           NHTSA ID Number: 10896488
           Incident Date: July 14, 2016
           Model: 2016 Forester

           THE CONTACT OWNS A 2016 SUBARU FORESTER. WHILE
           DRIVING 50 MPH, THE VEHICLE STALLED AND WAS ABLE
           TO BE RESTARTED AFTER SOME TIME. THE FAILURE
           RECURRED ON NUMEROUS OCCASIONS.

           NHTSA ID Number: 10895441
           Incident Date: May 12, 2016
           Model: 2016 Forester

           THE CONTACT OWNS A 2016 SUBARU FORESTER. WHILE
           DRIVING VARIOUS SPEEDS AND ATTEMPTING TO

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           ACCELERATE, THE ENGINE STALLED, MISFIRED, AND
           HESITATED WITHOUT WARNING.

           NHTSA ID Number: 10885629
           Incident Date: July 18, 2016
           Model: 2016 Forester

           THREE TIMES OVER THE PAST 2 WEEKS MY VEHICLE HAS
           AT HIGHWAY SPEEDS.

           NHTSA ID Number: 11048323
           Incident Date: November 24, 2017
           Model: 2016 Forester

           I'VE HAD THIS CAR FOR 1.5 YEARS AND IT'S ALREADY
           STALLED TWICE TIMES. BOTH TIMES I WAS DRIVING ON
           THE HIGHWAY AND WITHOUT ANY WARNING MY CAR
           JUST STARTED TO RAPIDLY DECREASE SPEED.

           NHTSA ID Number: 11150304
           Incident Date: January 16, 2018
           Model: 2016 Forester

           I HAVE AN ISSUE WHERE THE ENGINE WILL FLUTTER IN
           IDLE AND WILL ALMOST SKIP AS IF IT'S NOT GETTING ANY
           GAS. THE FLUTTER CAUSES THE CAR TO SHAKE, IT HAS
           EVEN CAUSED THE CAR TO STALL. WHEN IT STALLED I
           HAD STARTED THE CAR, PUT IT IN DRIVE, TAPPED THE
           GAS AND THE ENGINE CUT OUT AND SHUT OFF.

           NHTSA ID Number: 11218540
           Incident Date: June 3, 2019
           Model: 2016 Forester

           ON TWO DIFFERENT OCCASIONS 24 HOURS APART THE
           CAR STALLED (SEEMED TO DROP INTO NEUTRAL) AT
           HIGHWAY SPEEDS ~80MPH . . . ONCE ON THE SIDE OF THE
           ROAD IN PARK THE ENGINE DIED.



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           NHTSA ID Number: 11311652
           Incident Date September 1, 2019
           Model: 2017 Forester

           THE CONTACT OWNS A 2017 SUBARU FORESTER. WHILE
           DRIVING APPROXIMATELY 70 MPH THE VEHICLE
           SUDDENLY STALLED. . . THE CONTACT STATED THAT THE
           VEHICLE WOULD NOT ACCELERATE WHEN PRESSING THE
           ACCELERATOR PEDAL. WHILE DRIVING, THE SPEED WAS
           SUDDENLY REDUCED. AFTER TURNING THE VEHICLE OFF
           AND RESTARTING THE ENGINE, THE VEHICLE OPERATED
           AS NORMAL.

           NHTSA ID Number: 11306742
           Incident Date November 19, 2019
           Model: 2017 Forester

           THE CONTACT OWNS A 2017 SUBARU FORESTER. THE
           CONTACT STATED WHILE DRIVING AT 15 MPH, THE
           VEHICLE STALLED WITHOUT WARNING. THE CONTACT
           WAS ABLE TO RESTART THE VEHICLE.

           NHTSA ID Number: 11103515
           Incident Date: June 17, 2018
           Model: 2017 Forester

           WE HAVE A 2017 FORESTER SUBARU 2.5I WITH 12,548
           MILES. THE SUV WILL RANDOMLY JERK, JUMP AND HAS
           STALLED IN HWY & CITY TRAFFIC TWICE

           NHTSA ID Number: 11092568
           Incident Date: April 22, 2018
           Model: 2017 Forester

           ON APRIL 22, 2018, MY 2017 FORESTER WITH 22,000 MILES
           ON IT STALLED IN THE CARPOOL LANE OF A BUSY LA
           FREEWAY [] TRAFFIC IN THE LANE HAD COME TO A
           COMPLETE STOP AND WHEN IT PICKED UP AGAIN, THE
           ENGINE STALLED.

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           NHTSA ID Number: 11114000
           Incident Date: July 25, 2018
           Model: 2018 Forester

           MY 2018 SUBARU FORESTER XT SHUT OFF WHILE DRIVING
           2 TIMES ON 7/26/18 . . . UST SHUT OFF WHILE DRIVING. AND
           CAME TO A SUDDEN STOP IN A MATTER OF SECONDS -I
           WAS GOING 40 MPH

           NHTSA ID Number: 11282288
           Incident Date: December 15, 2018
           Model: 2018 Forester

           THE CONTACT OWNS A 2018 SUBARU FORESTER. WHILE
           DRIVING VARIOUS SPEEDS, THE VEHICLE STALLED AND
           SOMETIMES LOST POWER. THE VEHICLE RESTARTED
           AFTER IT WAS SHUT OFF. THERE WAS NO WARNING
           INDICATOR ILLUMINATED.

           NHTSA ID Number: 11270696
           Incident Date: October 18, 2019
           Model: 2019 Forester

           THE CONTACT OWNS A 2019 SUBARU FORESTER. WHILE
           TRAVELING 20 MPH, THE VEHICLE STALLED AND SHUT
           OFF WITHOUT WARNING. THE CONTACT ATTEMPTED TO
           RESTART THE VEHICLE, BUT WAS UNSUCCESSFUL.

                 Subaru Outback Complaints, Model Years 2015-2019

           NHTSA ID Number: 11245466
           Incident Date: August 20, 2019
           Model: 2017 Outback

           CAR STALLED (4X'S AT LEAST) WHEN MAKING TURNS;
           STALLED AFTER PASSING A CAR WHEN I RETURNED TO
           MY LANE WITH HIGH SPEED TRAFFIC BEHIND ME. HAVE
           HAD THIS PROBLEM SINCE WE PURCHASED CAR.

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           NHTSA ID Number: 11208473
           Incident Date: May 18, 2019
           Model: 2017 Outback

           IN TWO SEPARATE EVENTS THE CAR LOST POWER WHILE
           ACCELLORATING AT HIGHWAY SPEEDS TO MERGE INTO
           TRAFFIC FROM A STAND STILL. THE GAS PEDAL BECAME
           UNRESPONSIVE AND THE TRANMISSION STOPPED
           SHIFTING. IN THE FIRST INCIDENT THE ENGINE STALLED,
           AND IN THE SECOND IT SPUTTERED AND ALMOST DIED
           DURING A HEAVY MERGE ON AN ON RAMP.

           NHTSA ID Number: 11081469
           Incident Date: March 27, 2018
           Model: 2018 Outback

           I WAS DRIVING MY CHILD TO SCHOOL ON A RAINY
           MORNING IN TRAFFIC,20-30MPH ON A STRAIGHT ROAD.
           THE CAR STALLED AND THEN THE ENGINE SHUT OFF.

                  Subaru WRX Complaints, Model Years 2015-2019

           NHTSA ID Number: 11151074
           Incident Date: September 10, 2017
           Model: 2015 WRX STI
           DRIVING DOWN THE ROAD AT APPROX 30MPH HEARD A
           NOISE, CAR AND WOULD NOT START BACK UP[.]

           NHTSA ID Number: 11099429
           Incident Date: June 3, 2018
           Model: 2016 WRX

           I WAS DRIVING DOWN THE HIGHWAY AND THE CAR LOST
           A LITTLE POWER START TO SLOW DOWN TILL IT
           EVENTUALLY STALLED OUT AND NOW IT STARTS BUT
           DOES NOT STAY RUNNING.

           NHTSA ID Number: 11098135

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            Incident Date: May 25, 2018
            Model: 2016 WRX
            AFTER LEAVING WORK AND DRIVING LESS THAN ONE
            MILE, THE VEHICLE'S ENGINE STALLED WHILE
            APPROACHING A CONTROLLED INTERSECTION.

                  Subaru Impreza Complaints, Model Years 2015-2019

            NHTSA ID Number: 11051576
            Incident Date: November 21, 2017
            Model: 2015 Impreza

            THE CONTACT OWNS A 2015 SUBARU IMPREZA. WHILE
            DRIVING 35 MPH, THE VEHICLE STALLED WITHOUT
            WARNING.

            NHTSA ID Number: 11064197
            Incident Date: January 21, 2018
            Model: 2017 Impreza

            MY CAR STALLED 3X YESTERDAY, 1/21/2017 WHILE
            DRIVING. I WAS AT A TRAFFIC LIGHT ABOUT TO MAKE A
            LEFT TURN WHEN THE CAR SUDDENLY STALLED

                   Subaru Legacy Complaints, Model Years 2015-2019

            NHTSA ID Number: 10783002
            Incident Date: October 15, 2015
            Model: 2015 Legacy

            CAR ENGINE STALLED WHILE IN MOTION ON A CITY
            STEET. CAR WAS RESTARTED BUT ENGINE LIGHT WAS ON.

           58.   The Subaru Recall hints that the problem is more widespread than

what Denso and Subaru are actually reporting and acting on. During just an eight-

month period – July 2019 to March 2020 – Subaru identified 33 unique dealer and

non-dealer field reports indicative of the Fuel Pump Defect, 245 warranty claims

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for a fuel pump replacement (excluding abnormal noise claims), and 1 complaint to

NHTSA [VOQ].18 Notably, these claims were made shortly after the recalled 2019

model vehicles entered the market demonstrating that the fuel pumps are failing

well before they should, given their anticipated useful life.

           59.   Subaru vehicles made with faulty Denso fuel pumps that were not

included in the recall also may be at risk of failing their next California smog test

and emissions tests required in other states, meaning owners and lessees will be

unable to renew their vehicle registration.

           60.   In conjunction with the recall, Subaru issued a Product Campaign

Bulletin to address the Fuel Pump Impeller Failure.19 In it, Subaru identified the

safety recall as an emission related campaign and advised that owners would not be

able to renew their registration if the repair was not made. It also warned that “[i]n

addition, the State of California requires that every vehicle must pass an emission

test (SMOG Check) every two years and before it is sold. Without the repair we

are providing at no charge, your vehicle may not pass this test.”20

           61.   For those fortunate enough to be included in the Subaru Recall but

who previously paid to remedy the Fuel Pump Defect the Subaru Recall is also

inadequate.

18
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V218-1477.PDF
19
           https://static.nhtsa.gov/odi/rcl/2020/RCMN-20V218-4406.pdf
20
           https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-7149.pdf
                                          30
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           62.   For covered vehicles, Subaru will replace the low pressure fuel pump

with an improved part at no cost. However, those who previously paid for repairs

are eligible for reimbursement only if they can provide an original service repair

order that identifies the name of the repair facility, date of repair, mileage at the

time of repair, complete 17-digit vehicle identification number (VIN), and the

owner or lessee name, correct mailing address and telephone number. This

disadvantages those who elected to have their car repaired by a non-Subaru dealer

and likely do not have a repair invoice or receipt that includes this detailed

information.

V.         THE FUEL PUMP DEFECT CREATES UNSAFE CONDITIONS

           63.   The Fuel Pump Defect in the Subject Vehicles exposes occupants and

others to extreme danger, or even death. A vehicle that stalls or suffers engine

shutdown is at a heightened risk for collision.

           64.   Defendants acknowledge that the Fuel Pump Defect exposes drivers,

passengers and other vehicles to a risk of serious crash. Denso states that the result

of an inoperative fuel pump includes “rough engine running, engine no start and/or

vehicle stall while driving at low speed,” and, worst, “a vehicle stall could occur

while driving at higher speeds, increasing the risk of a crash.”21 Subaru warns “an




21
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20E026-9105.PDF
                                           31
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inoperative fuel pump may result in the engine stalling without the ability to restart

the vehicle, increasing the risk of a crash.”22

           65.   Fuel pump failure can also prevent the driver from accelerating at the

necessary and anticipated pace. Diminished acceleration ability creates unexpected

hazards, startling drivers of Subject Vehicles and other drivers in their proximity.

           66.   Defendants collectively designed, engineered, tested, validated,

manufactured and placed in the stream of commerce the defective low pressure

fuel pumps and Subject Vehicles with the Fuel Pump Defect in a manner that

subjects Class members to an unreasonable risk of death or injury.

VI.        DEFENDANTS’ KNOWLEDGE OF THE FUEL PUMP DEFECT

           67.   Denso is experienced in the design and manufacture of OE and

aftermarket fuel pumps. It touts the “Denso Difference” claiming its auto parts are

made with “Precision engineering. Advanced design. The highest OEM quality.”23

It tells customers “[b]ecause DENSO’s rigorous manufacturing and testing process

produces each fuel pump, you can be sure it meets our high standards for fit and

performance.” As part of its rigorous testing of fuel pumps and its ongoing

relationships with manufacturer customers Denso, knew or should have known




22
           https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V218-1477.PDF
23
           https://www.denso-am.eu/media/966284/dems180001mm-lr.pdf
                                            32
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about the Fuel Pump Defect months, if not years, before it initiated a recall on

April 24, 2020.

           68.   For instance, on October 18, 2018, almost two years before Denso

recalled its low-pressure fuel pumps, it published a patent (along with Sumitomo

Bakelite Co., Ltd.) for a new impeller made with a higher-density plastic

compound and with improved mechanical strength.24 The patent explains that a

fuel pump has a “housing and impeller” and that an impeller may swell “due to the

fuel and water contained in the fuel[.]” If an impeller swells too much it may come

into contact with the housing and stop the “rotation of the impeller[.]” Denso noted

that in recent years, it had used a resin that had proven to swell excessively. The

new patent proposed an impeller made with a resin material capable of resisting

absorption, suppressing the swelling of the impeller, and increasing the mechanical

strength through greater density.

           69.   The problem identified in the patent is very similar to the language

used in Denso’s April 2020 recall of its low pressure fuel pumps where Denso

determined that low-density impellers in the fuel pump could experience

deformation due to excessive fuel absorption caused by higher levels of surface

cracking. Excessive cracking was observed on (1) impellers that were made with a

lower density and which had a lower surface strength, and also on (2) impellers

24
           US 2018/0298857, Impeller for Fuel Pump, publ. Oct. 18, 2018
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that were made with a lower density and were exposed to production solvent

drying for a longer period of time.

           70.   Subaru is also experienced in the design and manufacture of consumer

vehicles. In keeping with industry standards, Subaru provides specifications for

component parts to the suppliers; reviews the design record, manufacturer control

plans, and validation reports produced by suppliers; conducts tests, including pre-

sale durability tests, on incoming components to verify the parts are free from

defect and comply with its specifications; issues final approval of the parts; and

purchases them for installation in its vehicles. As such, Subaru knew or should

have known about the Fuel Pump Defect and that it was prone to put drivers in a

dangerous position due to the inherent risk of the defect.

           71.   In addition, upon information and belief, Subaru became aware of the

Fuel Pump Defect through sources not available to Plaintiff and Class members

years before the limited recall it announced in April 2020, including, but not

limited to, design failure mode and analysis data, pre-production testing, industry

knowledge about the importance of selecting the proper materials, visits to Denso

factories to observe its manufacturing practices, early consumer complaints made

exclusively to Subaru’s network of dealers and directly to Subaru, aggregate

warranty data compiled from Subaru’s network of dealers, testing conducted by




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Subaru in response to consumer complaints, and repair order and parts data

received by Subaru from Subaru’s network of dealers.

           72.   Further, federal law requires automakers like Subaru to be in close

contact with NHTSA regarding potential defects. See TREAD Act, Pub. L. No.

106-414, 114 Stat. 1800 (2000). Accordingly, Subaru should and presumably does

monitor NHTSA databases for consumer complaints regarding their automobiles as

part of their obligation to identify potential defects in their vehicles, such as the

Fuel Pump Defect.

           73.   From its monitoring of the NHTSA databases, Subaru knew or should

have known of the many Fuel Pump Defect complaints lodged, such as those

quoted in paragraph 57 above. However, Subaru failed to act on that knowledge by

warning Class members.

           74.   Although they knew about the Fuel Pump Defect, Denso and Subaru

waited months (if not years) to issue their recalls knowing Subject Vehicles with

unsafe and defective fuel pumps were being driven by unsuspecting owners and

lessees. Subaru issued its recall on April 16, 2020, and Denso formally recalled its

fuel pumps on April 24, 2020. Meanwhile, Toyota issued a recall for the same

defective fuel pumps on January 13, 2020, over three months before Denso and

Subaru.




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           75.   Further, even though Subaru announced the recall on April 16, 2020,

replacement parts to complete the recall were not available until June 4, 2020, over

a month later. In conjunction with the recall, Subaru issued a Product Campaign

Bulletin to address the Fuel Pump Impeller Failure.25 The initial bulletin dated

April 23, 2020, and sent to Subaru retailers, said that remedy parts would not be

available until later that month and labeled the recall as “Open – Remedy Not Yet

Available.” On May 7, 2020, Subaru changed the status of the recall to “Open –

Limited Parts Available” explaining that a limited supply of parts had become

available to support repairs but were to be used only on affected vehicles presented

for other services prior to owner notification. Sufficient remedy parts did not

become available until June 4, 2020, at which point Subaru modified its Bulletin

and changed the status of the recall to “Open.” Subaru did not begin notifying

affected vehicle owners until June 4, 2020.

           76.   Despite admitting that the Fuel Pump Defect creates a safety hazard,

Subaru never advised owners or lessees to stop driving affected vehicles until the

Fuel Pump Defect could be repaired or replaced. Instead, Subaru continues to

represent that its vehicles are safe and that it is an industry-leader in safety

innovations.




25
           https://static.nhtsa.gov/odi/rcl/2020/RCRIT-20V218-7149.pdf
                                           36
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VII. DEFENDANTS BUILT THEIR REPUTATIONS ON THE SAFETY
     AND RELIABILITY OF THEIR PRODUCTS

           77.    Denso’s reputation is built on reliability. Denso considers itself “one

of the world’s largest automotive component suppliers of advanced automotive

technology and systems” and claims to “supply every major auto manufacturer in

the world, providing them with the quality and innovation they need to remain on

the leading edge of automotive technology” and who “[f]or decades [] [has] helped

all of our customers to become giants in their industries.]” Denso touts its

“commitment to quality, innovation, and advanced technology [] [as] the reason

our automotive and heavy-duty components truly are better by design.”26

           78.    According to Denso, “Not All Fuel Pumps are Created Equal” and

“DENSO’s proprietary turbine pump technology delivers the highest sustained fuel

pressures in the industry, and this is why our pumps are chosen as standard

equipment by the world’s most demanding OEMs, especially for their premium

vehicles.” 27

           79.    Denso repeatedly promotes the advanced design and technology of its

fuel pumps. The armature (number 1 in below diagram) is “[u]ltra high balanced to

minimize noise and vibration[,]” the turbine technology (2) “[d]elivers fuel with

minimal          pressure   pulsation   for   quieter   operation[,]”   the   check   valve

26
           http://oemfuelpump.com/portfolio.html
27
           https://densoautoparts.com/fuel-pumps.aspx
                                               37
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(3) “[m]aintains consistent system pressure for superior hot fuel handling

characteristics[,]” the relief valve (4) “[p]rotects the fuel delivery system[,]” the

choke coils (5) “[m]inimize radio interference[,]” and the brushes (6) are

“[d]esigned for durability, efficiency, and low-resistance operation.”28




           80.   Denso customers are assured that “because DENSO’s rigorous

manufacturing and testing process produces each fuel pump, you can be sure it

meets our high standards for fit and performance.”29 “Tests have proven DENSO

Fuel Pumps offer more than triple the lifetime with the same flow performance and

half the power consumption of competitive fuel pumps[.]”30

           81.   In a similar vein, Subaru has branded itself as the maker of safe and

dependable vehicles, spending millions of dollars on extensive marketing and

advertising campaigns to cement the association of safety and reliability with

Subaru, including the Subject Vehicles.

           82.   Subaru’s reputation is built on safety. Subaru claims to be “committed

to driver safety” and describes its design philosophy as “Safety First.” According

28
           Id.
29
           https://www.amazon.com/Denso-953-4101-Fuel-Pump/dp/B000TGPCIA
30
           https://densoautoparts.com/fuel-pumps.aspx
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to Subaru: “There’s safe, and then there’s SUBARU SAFE. When you choose a

Subaru, you’re not just choosing a car. You’re choosing a company with a lifetime

commitment to protecting those you love.”31 Subaru’s website reinforces this

message:32




           83.   On February 14, 2020, Alan Bethke, Senior Vice Present of

Marketing for Subaru of America, reiterated Subaru’s philosophy on safety,

stating:

           At Subaru, we are proud to produce safe and reliable vehicles that,
           time and again, have given our owners the ability to create their own
           adventures and memories. [] The Outback has earned the highest
           model loyalty in its class for the past three years, and our latest
           Outback advertising campaign reinforces our commitment to creating
           vehicles that not only keep our owners safe on the road, but also
           enhance their lives.33

           84.   Subaru was touting the safety and reliability of its vehicles, including

the Subject Vehicles, as far back as 2013.


31
     https://www.subaru.com/safety
32
     Id.
33
     http://media.subaru.com/pressrelease/1580/122/subaru-unveils-all-new-
marketing-campaign-reveal-most
                                             39
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           85.   Subaru promotes its 4-pronged approach to safety, which it describes

as “Primary Safety,” “Active Safety,” “Preventive Safety,” and “Passive Safety”

all of which combine to create “All-Around Safety.”

           86.   The “Primary Safety” concept considers safety from the primary

stages of the vehicle’s design such as form and operation.34 The “Active Safety”

concept aims to improve collision avoidance on the road: “SUBARUs designed

with such a high level of basic functionality are also designed to avoid dangerous

situations with an outstanding reputation for safety.”35 “Preventive Safety” strives

to prevent accidents through the use of advanced technologies and “Passive

Safety” aims to protect passengers in the event of a collision, “[d]esigning every

aspect of the car with the aim of guaranteeing utmost safety is a collision safety

concept that is unique to SUBARU.”36

           87.   Subaru says it has “spent a long time fine-tuning [] [its] ‘All-Around

Safety’ system which protects people from any danger in any situation[]” and

describes how it has been “considering safety from many angles in order to deliver

‘Enjoyment and Peace of Mind’ to all passengers who ride in Subaru vehicles, and

to achieve [] [its] ultimate goal of creating a traffic accident-free society.”37


34
           https://www.subaru-global.com/technology/safety/primarysafety.html
35
           https://www.subaru-global.com/technology/safety/activesafety.html
36
           https://www.subaru-global.com/technology/safety/
37
           Id.
                                            40
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           88.   Subaru also promotes its “high-efficiency powertrain with minimal

waste” describing how “[t]he key lies with just how much power the engine can

generate from a minimal quantity of fuel, and how that power can be transmitted to

the wheels without any loss through the transmission system. Subaru continues to

fine-tune the technology behind the engine and transmission with the belief that

they can be engineered to deliver the level of drivability that Subaru strives for,

without having a detrimental impact on the environment.”38

           89.   Subaru’s marketing of the Subject Vehicles and Denso’s marketing of

the defective fuel pumps is replete with assurances about their safety and

reliability. But a vehicle that can suddenly stall and lose power during normal

operating conditions is inherently unsafe and renders their marketing untrue and

materially misleading. Plaintiff and other Class members have been damaged as a

result.

           90.   Despite these assurances Subaru was secretly aware that its suppliers

were not meeting quality standards. In 2019, an internal Subaru report that was

leaked to an automotive industry publication found that “nearly half of Subaru’s

suppliers were recently operating at quality levels below Subaru’s internal




38
           https://www.subaru-global.com/technology/environment/highefficiency.html

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target.”39 Subaru’s 2019 Annual Report to investors noted that fiscal year 2019

was, “a year in which latent issues at SUBARU came to light, which enabled us to

confirm that we are moving in the right direction with corporate culture reforms,

quality reforms,” and mid-term management revisions.40

           91.   The average consumer researching the safety of a vehicle would not

come across these materials and thus would remain unaware that Subaru is aware

of systemic quality control issues during the time frame in which the defective

Denso fuel pumps were made. Instead, consumers would see only Subaru’s public

proclamations of its vehicles’ safety.

VIII. WARRANTY COVERAGE FOR THE FUEL PUMP DEFECT

           92.   Subaru’s New Vehicle Limited Warranty “covers any repairs needed

to correct defects in material or workmanship reported during the applicable

warranty period and which occur under normal use[.]” The warranty provides basic

coverage for 3 years or 36,000 miles, whichever comes first. The “entire vehicle is

covered” subject to exclusions listed in the warranty. Subaru’s warranty promises

that “[d]efective parts will be repaired or, at the option of SOA [Subaru of

America] or your Authorized SUBARU Retailer, replaced with new or

remanufactured parts without charge to you for labor and materials.”

39
     Hans Greimel, “Behind the Scenes, Subaru Races to Boost Quality,” Auto.
News, June 24, 2019.
40
     Subaru Annual Report, 2019, at 8.
                                          42
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           93.   Because the Fuel Pump Defect often arises outside the warranty

period, owners are on the hook to pay to repair this defect, which Defendants have

known about for months, if not years. Repair and replacement can cost upwards of

hundreds of dollars. Subaru’s Product Campaign Recall with instructions to dealer

technicians on how to complete the recall repair shows the many steps involved in

performing this repair.

           94.   Defendants know the Fuel Pump Defect affects more makes, models

and years of vehicles than were included in the Denso and Subaru Recalls leaving

owners and lessees on the hook to pay hundreds of dollars to repair this defect.

                          CLASS ACTION ALLEGATIONS

           95.   Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23(a),

(b)(2), (b)(3) on behalf of a proposed Nationwide Class defined as:

           All persons who purchased or leased a Subject Vehicle for end use
           and not for resale in the United States, the District of Columbia,
           Puerto Rico, or any other United States territory or protectorate.

           96.   Alternatively, Plaintiff alleges a Hawaii multistate class (“Hawaii

Class”) defined as:

           All persons who purchased or leased a Subject Vehicle for end use
           and not for resale in Hawaii and other states with similar laws.
Excluded from the Class are: (a) Defendants officers, directors, and employees;

(b) judicial officers assigned to this case; (c) governmental entities; and (d) persons

who timely and properly exclude themselves from the Class.

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           97.   Certification of Plaintiff’s claims for classwide treatment is

appropriate because Plaintiff can prove the elements of his claims on a classwide

basis using the same evidence as would be used to prove those elements in

individual actions alleging the same claims.

           98.   Numerosity – Federal Rule of Civil Procedure 23(a)(1). Each Class

consists of thousands of people. The precise number of Subject Vehicles is

unknown to Plaintiff but may be ascertained from Defendants’ books and records.

Therefore, each Class is so numerous that joinder of all members would be

impracticable.

           99.   Commonality and Predominance – Federal Rule of Civil

Procedure 23(a)(2) and 23(b)(3). This action involves common questions of law

and fact that predominate over any questions affecting individual Class members,

including:

            a.   whether Defendants engaged in the conduct alleged herein;

            b.   whether Defendants’ alleged conduct violates applicable law;

            c.   whether Defendants designed, advertised, marketed, distributed,

                 leased, sold, or otherwise placed the Subject Vehicles into the stream

                 of commerce in the United States;

            d.   whether Defendants made false or misleading statements about the

                 quality and safety of the Subject Vehicles;

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            e.   whether the Subject Vehicles contain the Fuel Pump Defect;

            f.   whether Defendants had actual or implied knowledge about the

                 alleged defect but failed to disclose it to Plaintiff and members of each

                 Class;

            g.   whether Defendants’ omissions and concealment regarding the quality

                 of the Subject Vehicles were likely to deceive the Class members in

                 violation of the state consumer protection statutes alleged herein;

            h.   whether Subaru breached its express warranties with respect to the

                 Subject Vehicles;

            i.   whether Subaru breached its implied warranties with respect to the

                 Subject Vehicles;

            j.   whether the members of each Class are entitled to damages,

                 restitution, disgorgement, statutory damages, exemplary damages,

                 equitable relief, and/or other relief; and

            k.   the amount and nature of relief to be awarded to Plaintiff and

                 members of each Class.

           100. Defendants engaged in a common course of conduct giving rise to the

legal rights sought to be enforced by Plaintiff, individually and on behalf of the

other Class members. Similar or identical statutory and common law violations,

business practices, and injuries are involved. Individual questions, if any, pale by

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comparison, in both quality and quantity, to the numerous common questions that

dominate this action.

           101. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s

claims are typical of the claims of the other Class members because, among other

things, Plaintiff and the other Class members were injured through Defendants’

substantially uniform misconduct described above. Plaintiff advanced the same

claims and legal theories on behalf of himself and all other Class members, and no

defense is available to Defendants that is unique to Plaintiff.

           102. Adequacy of Representation – Federal Rule of Civil Procedure

23(a)(4). Plaintiff is an adequate representative of each Class because his interests

do not conflict with the interests of the other Class members. Additionally,

Plaintiff has retained counsel competent and experienced in complex class action

litigation. Thus, the interests of each Class will be fairly and adequately protected

by Plaintiff and his counsel.

           103. Declaratory and Injunctive Relief – Federal Rule of Civil

Procedure 23(b)(2). Defendants have acted or refused to act on grounds generally

applicable to Plaintiff and the other members of each Class, thereby making

appropriate final injunctive relief and declaratory relief, as described below, for the

Nationwide and Hawaii Class members as a whole.




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           104. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class

action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this matter as a class action. The damages,

harm, or other financial detriment suffered individually by Plaintiff and the other

Class members are relatively small compared to the burden and expense that would

be required to litigate their claims on an individual basis against Defendants,

making it impracticable for Class members to individually seek redress for

Defendants’ wrongful conduct. Even if Class members could afford individual

litigation, the court system should not be forced to shoulder such inefficiency.

Individualized litigation would create a potential for inconsistent or contradictory

judgments and increase the delay and expense to all parties and the court system.

By contrast, the class action device presents far fewer management difficulties,

providing the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.

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                                 CAUSES OF ACTION

                                        COUNT I

              VIOLATION OF HAWAII’S UNFAIR DECEPTIVE ACTS
                        AND PRACTICES STATUTE
                                 H.R.S. §§ 480-1, et seq.
           (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                or, Alternatively, the Hawaii Class as to All Defendants)

           105. Plaintiff repeats and realleges all other paragraphs as fully set forth

herein.

           106. This cause of action is brought pursuant to Hawaii’s Unfair Deceptive

Acts and Practices Statute (“UDAP”), H.R.S. §§ 480-1, et seq.

           107. Plaintiff brings this claim individually and on behalf of members of

the Nationwide Class, or, alternatively the Hawaii Class.

           108. Plaintiff and each of the Class members are “consumers,” as the term

is defined by H.R.S. § 480-1, because they are natural persons who purchased or

leased one or more Subject Vehicles equipped with defective Denso low pressure

fuel pumps, primarily for personal, family, or household purposes.

           109. The conduct alleged in this Complaint constitutes unfair and deceptive

acts and practices for the purpose of the UDAP because the conduct was

undertaken by Defendants in the conduct of their trade and commerce.

           110. Defendants’ conduct, as described herein, in misrepresenting that the

Subject Vehicles are safe and reliable, and omitting the fact that they designed,


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manufactured, distributed and sold Subject Vehicles with a Fuel Pump Defect that

causes the fuel pump to fail prematurely, violates H.R.S. § 480-2(a) prohibiting

“[u]nfair methods of competition and unfair or deceptive acts or practices in the

conduct of any trade or commerce are unlawful.”

           111. In the course of conducting business, Defendants committed “unfair”

business practices by, among other things, making the representations and

omissions of material facts that Subject Vehicles were safe and reliable. During

any one of Plaintiff’s interactions with Subaru dealerships, Subaru and/or Denso

could have disclosed the material fact of the Fuel Pump Defect, and that would

have resulted in Plaintiff receiving the information. There is no societal benefit

from such false and misleading representations and omissions—only harm. While

Plaintiff and the other Class members were harmed by this conduct, Defendants

were unjustly enriched. As a result, Defendants’ conduct is “unfair,” as it has

offended an established public policy. Further, Defendants engaged in immoral,

unethical, oppressive, and unscrupulous activities that are substantially injurious to

consumers. There were reasonably available alternatives to further Defendants’

legitimate business interests other than the conduct described.

           112. Defendants’ actions, claims, omissions, and misleading statements

were also false or misleading and likely to deceive the consuming public within the

meaning of H.R.S. § 480-2(a).

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           113. Plaintiff, in fact, has been deceived as a result of his reliance on

Defendants’ material representations and omissions, which are described above.

Plaintiff has suffered injury in fact and lost money as a result of purchasing or

leasing his Subject Vehicle. Such injury includes paying more for a Subject

Vehicle than he should have, diminished value of his Subject Vehicle, and other

damages proximately caused by Defendants’ misconduct as alleged herein.

           114. Defendants acts were deceptive because their misrepresentations and

omissions were material and were likely to mislead reasonable consumers.

           115. Defendants willfully engaged in the above-described unfair and

deceptive acts and practices constituting violations of the UDAP. Defendants knew

or should have known that their unfair and deceptive acts and practices were

frivolous and malicious.

           116. Pursuant    to   H.R.S.   § 480-13(b)(1)   and   (c),   Plaintiff   seeks

compensatory damages of threefold the damages incurred by himself and each

Class member in purchasing Subject Vehicles with the Fuel Pump Defect, as well

as reasonable attorney’s fees together with costs.

           117. Unless restrained and enjoined, Defendants will continue to engage in

the above-described conduct. Accordingly, injunctive relief is appropriate.

Plaintiff, on behalf of himself, all others similarly situated, and the general public,

seek restitution from Defendants of all money obtained from Plaintiff and other

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Class members as a result of their unfair competition, an injunction prohibiting

Defendants from continuing such practices, corrective advertising, and all other

relief this Court deems appropriate, consistent with H.R.S. § 480-13(b)(2) and (c).

                                        COUNT II

              VIOLATION OF HAWAII’S UNFAIR DECEPTIVE ACTS
                         & PRACTICES STATUTE
                                  H.R.S. §§ 481A, et seq.
           (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
                or, Alternatively, the Hawaii Class as to All Defendants)

           118. Plaintiff repeats and realleges all other paragraphs as fully set forth

herein.

           119. This cause of action is brought pursuant to Hawaii’s UDAP, H.R.S.

§§ 481A-1, et seq.

           120. Defendants are “persons” under H.R.S. § 481A-2 because they are

corporations.

           121. Defendant violated the UDAP by misrepresenting and omitting

material facts regarding Subject Vehicles, and by engaging in the following

practices proscribed by H.R.S. § 481A-3 in transactions that were intended to

result in, and did result in, the sale of Subject Vehicles:

            a.   representing that Subject Vehicles have sponsorship, approval,

                 characteristics, ingredients, uses, benefits, or quantities that they do

                 not have;

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            b.   representing that Subject Vehicles are of a particular standard, quality,

                 or grade if they are of another;

            c.   advertising Subject Vehicles with intent not to sell them as advertised;

                 and

            d.   engaging in any other conduct which similarly creates a likelihood of

                 confusion or of misunderstanding.

           122. Defendants violated the UDAP by selling Subject Vehicles they knew

possessed a uniform Fuel Pump Defect that causes the fuel pump to fail

prematurely and could cause the Subject Vehicles to experience a check engine

warning light malfunction or cause the indicator light to illuminate, the engine to

run rough, the engine not to start and/or the vehicle to stall while driving at low or

high speeds, exposing drivers, passengers and other vehicles on the road to an

unreasonable safety risk. Defendants omitted from Plaintiff and the other Class

members, to whom they had a duty to disclose, the material fact that Subject

Vehicles were sold with a Fuel Pump Defect that created an unreasonable safety

risk. This is a fact that a reasonable consumer would consider important in

selecting a vehicle to purchase or lease.

           123. During any one of Plaintiff’s interactions with Subaru dealers, Subaru

and/or Denso could have disclosed the material fact of the Fuel Pump Defect, and

that would have resulted in Plaintiff receiving the information.

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           124. Pursuant to H.R.S. § 481A-4(a), Plaintiff, individually, and on behalf

of the other Class members, seeks a court order enjoining the above-described

wrongful acts and practices of Defendants, ordering Defendants to extend repair

remedies to all Class members who have the Fuel Pump Defect, and awarding

restitution and disgorgement.

           125. Pursuant to H.R.S. § 481A-4(b), Plaintiff, individually and on behalf

of the other Class members, seeks reasonable attorney’s fees together with costs of

suit. Defendants willfully engaged in the above trade practices knowing them to be

deceptive.

                                       COUNT III

       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                    H.R.S. § 490:2-314
           (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
              or, Alternatively, the Hawaii Class as to Defendant Subaru)

           126. Plaintiff repeats and realleges all other paragraphs as fully set forth

herein.

           127. Defendant Subaru is and was, at all relevant times, a “merchant” with

respect to Subject Vehicles as defined by H.R.S. § 490:2-104, and manufactured,

distributed, warrantied and/or sold Subject Vehicles.




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           128. Pursuant to H.R.S. § 490:2-314, a warranty that Subject Vehicles were

in merchantable condition and fit for the ordinary purposes for which they were

sold or leased was implied by law in the instant transactions.

           129. Plaintiff and the other Class members purchased or leased Subject

Vehicles manufactured and sold by Defendant Subaru in consumer transactions.

           130. Subject Vehicles, when sold and at all times thereafter, were not in

merchantable condition and not fit for the ordinary purpose for which cars are

used. Subject Vehicles left Defendant’s possession and control with a Fuel Pump

Defect that causes the fuel pump to fail prematurely and renders them at all times

thereafter unmerchantable, unfit for ordinary use, unsafe, and a threat to public

safety. Plaintiff and the other Class members used their Subject Vehicles in the

normal and ordinary manner for which Subject Vehicles were distributed and

advertised.

           131. Defendant Subaru knew before selling or leasing the Subject Vehicles

to Plaintiff and the other Class members, or earlier, that the Subject Vehicles were

manufactured with a Fuel Pump Defect that may cause the vehicles to among other

things stall while driving, rendering Subject Vehicles unfit for their ordinary

purpose.

           132. Despite Plaintiff’s and the other Class members’ normal and ordinary

use, maintenance, and upkeep, the Subject Vehicles had a Fuel Pump Defect that

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existed at the time Defendant transferred Subject Vehicles from its possession or

control. The defect rendered Subject Vehicles unfit for their ordinary use and

incapable of performing the tasks they were distributed, sold, leased advertised,

and sold to perform.

           133. As a result, the Subject Vehicles, including their low pressure fuel

pumps and related components, are not of fair or average quality. Nor would they

pass without objection in the automotive industry. The fact that the Fuel Pump

Defect may cause the Subject Vehicles to stall while driving renders the Subject

Vehicles unsafe to drive, and requires repair or replacement before safe, ordinary

use can resume.

           134. All conditions precedent have occurred or been performed.

           135. Defendant had actual notice of its breach of warranty. Through

consumer complaints, warranty records, communications with its supplier (Denso),

inter alia, Defendant knew of the defect, the existence and ubiquity of which it

knew much earlier. Its implementation of the Subaru Recall and the corresponding

Product Campaign Bulletin issued to Subaru retailers shows actual notice.

           136. Defendant’s warranty disclaimers, exclusions, and limitations, to the

extent that they may be argued to apply, were, at the time of sale, and continue to

be, unconscionable and unenforceable to disclaim liability for a known, latent

defect. Defendant knew when it first issued these warranties and their limitations

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that the defect existed, and the warranties might expire before a reasonable

consumer would observe or experience the defect. Defendant also failed to take

necessary actions to adequately disclose or cure the defect after the existence of the

defect came to the public’s attention, and squandered its reasonable opportunity to

cure or remedy the defect, its breaches of warranty, and consumers’ losses. Under

these circumstances, it would be futile to enforce any informal resolution

procedures or give Defendant any more time to cure the defect, cure its breaches of

warranty, or otherwise attempt to resolve or address Plaintiff’s and the other Class

members’ claims.

           137. As a direct and foreseeable result of the Fuel Pump Defect in Subject

Vehicles, Plaintiff and the other Class members have suffered diminution in the

value of Subject Vehicles, out-of-pocket losses related to repairing, maintaining,

and servicing their defective Subject Vehicles, costs associated with arranging and

obtaining alternative means of transportation, and other incidental and

consequential damages recoverable under the law.

           138. Plaintiff and the other Class members have had sufficient direct

dealings with Defendant or its agents (dealerships) to establish privity of contract

between themselves and Defendant. Privity, nevertheless, is not required in this

case because Plaintiff and the other Class members were intended third-party

beneficiaries of contracts between Defendant and its dealers; specifically, they are

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the intended beneficiaries of Defendant’s implied warranties. The dealers were not

intended to be the ultimate consumers of Subject Vehicles; the warranty

agreements were designed for, and intended to benefit, only the ultimate

consumers—such as Plaintiff and the other Class members. Privity is also not

required because Plaintiff’s and the other Class members’ Subject Vehicles are

inherently dangerous due to the aforementioned defects and nonconformities.

                                       COUNT IV
                         BREACH OF EXPRESS WARRANTY
                                    H.R.S. § 490:2-313
           (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
              or, Alternatively, the Hawaii Class as to Defendant Subaru)

           139. Plaintiff repeats and realleges all other paragraphs as fully set forth

herein.

           140. Defendant Subaru is and was, at all relevant times, a “merchant” with

respect to Subject Vehicles as defined by H.R.S. § 490:2-104, and manufactured,

distributed, warrantied and/or sold Subject Vehicles.

           141. When marketing, distributing, and selling Subject Vehicles,

Defendant expressly warranted that each provided 36 months or 36,000 miles of

comprehensive coverage, whichever occurred first, during which time Subaru

represented it would cover the cost of any repair or replacement necessary due to a

defect in materials or workmanship relating to Subject Vehicles.


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           142. Defendant knew that the Subject Vehicles had the Fuel Pump Defect

at the time of sale. Defendant breached express warranties when Defendant

delivered Subject Vehicles that did not conform to its affirmations of fact and

industry standards. Specifically, the Subject Vehicles were not safe for ordinary

use contrary to Subaru’s decades long advertising campaign and other written and

oral representations that promote above all else its commitment to designing and

manufacturing vehicles that are safe and reliable.

           143. Subaru breached the express warranty to repair the defects in Subject

Vehicles, because it failed to adequately repair the Fuel Pump Defect that causes

the fuel pump to fail prematurely in Subject Vehicles to ensure such vehicles did

not experience illumination of the check engine light and/or master warning

indicators, rough engine running, engine no start and worst of all, vehicle stall

while driving.

           144. Specifically, despite Defendant’s knowledge of the problem and

opportunity to cure (as evidenced by the Subaru Recall and Product Campaign

Bulletin), Defendant failed to notify Plaintiff and the other members of the Class of

the defect and to adequately repair, at no charge to the Class, the Fuel Pump

Defect.

           145. All conditions precedent have occurred or been performed.




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           146. Defendant had actual notice of its breach of warranty. Through

consumer complaints, warranty records, communications with its supplier (Denso),

inter alia, Defendant knew of the defect, the existence and ubiquity of which it

knew much earlier. Its implementation of the Subaru Recall and the corresponding

Product Campaign Bulletin issued to Subaru retailers shows actual notice.

           147. Defendant’s warranty disclaimers, exclusions, and limitations, to the

extent that they may be argued to apply, were, at the time of sale, and continue to

be unconscionable and unenforceable to disclaim liability for a known, latent

defect. Defendant knew when it first made these warranties and their limitations

that the defect existed and that the warranties might expire before a reasonable

consumer would notice or observe the defect. Defendant also failed to take any

actions to adequately disclose or cure the defect after the existence of the defect

came to the public’s attention and sat on its reasonable opportunity to cure or

remedy the defect, its breaches of warranty, and consumers’ losses. Under these

circumstances, it would be futile to enforce any informal resolution procedures or

give Defendant any more time to cure the defect, its breaches of warranty, or

otherwise attempt to resolve or address Plaintiff’s and the other Class members’

claims.

           148. Plaintiff and the other Class members were damaged as a result of

Subaru’s breach of express warranty because the fuel pump and related

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components on Subject Vehicles are defective, compromising the safety of the

vehicles’ drivers and passengers, and requiring repair of Subject Vehicles’ for the

Fuel Pump Defect.

           149. As a direct and foreseeable result of Defendant’s failure to repair

Subject Vehicles, Plaintiff and the other Class members suffered diminution in the

value of Subject Vehicles, out-of-pocket losses related to the repairing,

maintaining, and servicing their defective Subject Vehicles, costs associated with

arranging other forms of transportation, and other incidental and consequential

damages recoverable under the law.

                                         COUNT V

                                DECLARATORY RELIEF
           (On Behalf of Plaintiff Roman Anderson and the Nationwide Class
              or, Alternatively, the Hawaii Class Against All Defendants)
           150. Plaintiff repeats and realleges all paragraphs as fully set forth herein.

           151. Pursuant to 28 U.S.C. § 2201, the Court “may declare the rights and

other legal relations of any interested party seeking such declaration, whether or

not further relief is or could be sought.”

           152. Defendants marketed, distributed, and sold Subject Vehicles equipped

with a Fuel Pump Defect.

           153. Accordingly, Plaintiff, individually and on behalf of the other Class

members, seeks entry of the following declarations: (a) the model year 2015-2019


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Subaru Impreza, Ascent, Legacy, Outback, Forester, Crosstrek and WRX vehicles

contain a Fuel Pump Defect; (b) all persons who purchased or leased model year

2015-2019 Subaru Impreza, Ascent, Legacy, Outback, Forester, Crosstrek and

WRX vehicles must be provided the best practicable notice of the defect, the cost

of which shall be borne by Defendants; and (c) Defendants must establish an

inspection, repair, and replacement program and protocol, and notify all Class

members of such program and protocol, pursuant to which Defendants, including

their authorized representatives, and at no cost to Class members, will inspect,

upon request, Class members’ Subject Vehicles for the Fuel Pump Defect and

repair or replace the fuel pump and related components on Subject Vehicles, and

related defect manifestations.

                               REQUESTS FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, respectfully requests that the Court enter an Order:

           a.    certifying the proposed Nationwide Class, or alternately the proposed

                 Statewide Class under Federal Rule of Civil Procedure 23(a),

                 23(b)(2), and 23(b)(3), as requested herein, and appointing their

                 counsel as Class Counsel;

           b.    appointing Plaintiff as Class Representative;




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           c.   finding that Defendants engaged in the unlawful, unfair and deceptive

                conduct as alleged herein;

           d.   awarding Plaintiff and the other Class members damages;

           e.   awarding Plaintiff and the other Class members restitution and

                disgorgement of monies Defendants acquired through their violations

                of the law;

           f.   awarding Plaintiff and the other Class members injunctive and

                declaratory relief including requiring Defendants to promptly and

                fully inform Class members of the Fuel Pump Defect and its

                associated dangers and instructing such Class members to cease

                driving their vehicles, and ordering Defendants to provide free loaner

                vehicles of comparable make, model, or value to the Subject Vehicle

                each Class member owns or leases until a remedy for the Fuel Pump

                Defect is installed in the Subject Vehicles;

           g.   requiring Defendants to repair or replace the Fuel Pump Defect on

                Subject Vehicles;

           h.   awarding Plaintiff and the other Class members pre-judgment and

                post-judgment interest on all amounts awarded;

           i.   awarding Plaintiff and the other Class members reasonable attorneys’

                fees, costs, and expenses; and

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           j.    granting such other relief the Court deems just and appropriate.

                                JURY TRIAL DEMAND

           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

by jury on all claims so triable.

           DATED: Honolulu, Hawaii, June 26, 2020.

                                            /s/ Steven K. S. Chung
                                            STEVEN K. S. CHUNG
                                            TIMOTHY E. HO
                                            TIMOTHY G. BLOOD(PHV forthcoming)
                                            PAULA R. BROWN (PHV forthcoming)
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